Case 1:24-cv-00217-AJT-WEF Document 1-4 Filed 02/13/24 Page 1 of 9 PageID# 47




        EXHIBIT C
            Case
12/15/23, 11:02 AM 1:24-cv-00217-AJT-WEF                  Document    1-4License
                                                           Deque Software    Filed  02/13/24
                                                                                 Terms              Page
                                                                                       - axe ® products      2 of 9 PageID# 48
                                                                                                        | Deque

                       Search                Free (https://axe.deque.com/plans#deque-                 (https://www.deque.com/sign-
                                                                                               Login
                                              Trialaxe-sign-in-link)                                   in/)
   (https://www.deque.com/)




   Deque Software License Terms – axe
                                                                                                                      ®



   products




   Terms of Use – axe products
   Note: If you or your organization has a previously negotiated agreement with Deque related to the SaaS
   Services, the terms of that agreement will take precedence over these Terms of Use.


   These Terms of Use (these “Terms of Use”) apply to the use of the axe products (the “Product”). These Terms,
   together with the information about scope of use, pricing, payment, and other matters contained in the menu,
   presentation, click-through process, or order form with which these Terms of Use are associated (the “Specific
   Terms”), constitute an agreement between Customer and Deque Systems, Inc. (“Deque”). The Terms of Use and
   the Specific Terms are the “Terms.” “Customer” means (a) where these Terms of Use are associated with an
   executed order form, the person or organization named in the order form, otherwise (b) the individual or business
   organization using the Product. If an individual receives or uses the Product for, or accepts the Terms on behalf of,
   an organization, that organization is also “Customer” and the individual so receiving or using the Terms and/or the
   Product represents and warrants to Deque that the individual is authorized to do so for the organization and to
   bind the business organization to the Terms.



   (https://github.com/dequelabs/legal-docs/blob/main/terms-of-use.md#1-service)       1. Service.
         Availability. During the period of time specified by the Specific Terms (or, if no period of time is so specified,
         one year) subject to renewal as stated in the Terms, Deque will make available to Customer, and Customer
         may use, the Product to the extent stated in the Specific Terms. Where, and to the extent that, Deque makes
         available the Product by means of an Internet connection, Deque will make available the Product at the
         outermost point on Deque’s firewall with the public Internet (the “Demarcation Point”).
         Restrictions. Customer may not, and may not allow any third party to:


https://www.deque.com/terms-of-use/axe-devtools-online/                                                                               1/8
            Case
12/15/23, 11:02 AM 1:24-cv-00217-AJT-WEF                  Document    1-4License
                                                           Deque Software    Filed  02/13/24
                                                                                 Terms              Page
                                                                                       - axe ® products      3 of 9 PageID# 49
                                                                                                        | Deque
           1. Decompile, disassemble, decrypt, or reverse engineer the Product or attempt to derive the source code
               for any part of the Product;
           2. Encumber any right in the Product in favor of a third party, whether by agreement, operation of law, or
               otherwise;
           3. Remove from the Product any product identification or proprietary rights notices;
           4. Sell, lease, lend, or sublicense the Product to any third party;
           5. Use the Product for timesharing or service bureau purposes or for any purposes not expressly permitted
               by the Terms;
           6. Share the Product access credentials with any other resource, including, but not limited to, where
               licensed on a named-user basis, permitting more than one natural person to access or use the Product,
               whether concurrently, non-concurrently, or otherwise;
           7. Modify or create derivative works of the Product;
           8. Publish or disclose to any third party the results of any benchmark tests or other evaluation run on the
               Product without the prior written consent of Deque; or
           9. Otherwise use or copy the Product except as expressly provided in the Terms.
         Customer Responsibilities. Customer shall be solely responsible for providing, maintaining, and ensuring its
         ability to access the Product, including, where applicable, securing Internet access to the Demarcation Point.
         Customer will use commercially reasonable efforts to prevent unauthorized access to or use of the Product.



   (https://github.com/dequelabs/legal-docs/blob/main/terms-of-use.md#2-data-customer-warranties)        2. Data;
   Customer Warranties.
         Customer Test Data. Where the Product permits or requires, Customer may upload Customer Test Data.
         Customer grants to Deque a perpetual, non-exclusive, non-sub-licensable, non-transferable license to capture,
         copy, store, transmit, maintain, access, and display the Customer Test Data for all internal business purposes
         and for the development and enhancement of its products and services. “Customer Test Data” means data,
         information or material uploaded or routed to the Product, transmitted using the Product or otherwise
         provided or made available to Deque in any medium by Customer or third parties in connection with use of
         the Product, together with any derivative works made therefrom, and shall include data, information, or
         material relating to accessibility testing, results of accessibility test procedures, web site metrics, and related
         items. Customer Test Data does not include Restricted Data nor Personal Data.
         Customer Warranties. Customer represents and warrants that:
            1. Customer has all rights in the Customer Test Data (including, but not limited to, personal data included
               in the Customer Test Data) necessary to process such Customer Data using the Product and to grant to
               Deque the rights that Customer grants in the Terms;
            2. Customer is solely responsible for the accuracy, quality, integrity, reliability and appropriateness of the
               Customer Test Data;
            3. No consent, approval, authorization, permission, ratification or waiver from, notice to, or registration or
               filing with, any third party is required for the execution, delivery and performance of the Terms by
               Customer; and
            4. Neither the execution and delivery of the Terms by Customer nor Customer’s performance under the
               Terms does or will (with or without notice or lapse of time or both) (i) contravene, conflict with or result
               in a violation of any law or any governmental order to which Customer is subject, or (ii) contravene or


https://www.deque.com/terms-of-use/axe-devtools-online/                                                                          2/8
            Case
12/15/23, 11:02 AM 1:24-cv-00217-AJT-WEF                  Document    1-4License
                                                           Deque Software    Filed  02/13/24
                                                                                 Terms              Page
                                                                                       - axe ® products      4 of 9 PageID# 50
                                                                                                        | Deque
              conflict with, result in any breach of, or constitute a default under any contract or arrangement to which
              Customer is a party.
         Personal Data.
           1. “Personal Data” means information that both (i) relates to an identified or identifiable natural person,
              where an “identifiable natural person” is one who can be identified, directly or indirectly, in particular by
              reference to an identifier such as a name, an identification number, location data, an online identifier or
              to one or more factors specific to the physical, physiological, genetic, mental, economic, cultural or
              social identity of that natural person and (ii) is protected, and/or its use is restricted, as such by
              applicable law. If and when Customer provides, or causes or allows to be provided, to Deque Personal
              Data (“Provided Personal Data”), Customer represents and warrants that Customer has all necessary
              rights in Provided Personal Data (e.g., consent, legitimate basis, derogation, exemption, etc.) necessary
              to provide the Provided Personal Data to Deque and for Deque to process such Provided Personal Data
              as reasonably necessary to perform Services under this Agreement using such Provided Personal Data.
              Customer will provide to Deque no Personal Data that is not necessary for Deque’s performance under
              this Agreement. Deque will use any Provided Personal Data solely for the purposes of performance
              under this Agreement and will comply with all law applicable to Deque that regulates Personal Data.
           2. “Restricted Data” means Personal Data that is “sensitive personal data” under applicable law or that
              applicable law provides protections and/or remedies that are in excess of those that apply to other
              personal data. The term includes, but is not limited to, nonpublic Personal Data (as that term is defined
              by the Financial Services Modernization Act of 1999), protected health information (as that term is
              defined by the Health Insurance Portability and Accountability Act of 1996) Deque’s Software or SaaS
              Services do not require that Deque possess or use Restricted Data. Customer will not make available to
              Deque any Restricted Data and Customer will prevent Deque from being exposed to any Restricted Data
              in the course of Deque’s performance under this Agreement.



   (https://github.com/dequelabs/legal-docs/blob/main/terms-of-use.md#3-deque-warranties)        3. Deque
   Warranties.
         Deque warrants that, for the period of time stated in the Specific Terms, the Product will function in all
         material respects as described in Deque’s then-current Product-specific user manuals and instructions (the
         “Documentation”).
         DEQUE MAKES NO WARRANTY OTHER THAN THE WARRANTY STATED ABOVE. DEQUE DISCLAIMS ALL
         OTHER WARRANTIES, AND PROVIDES ALL GOODS, SERVICES, AND SOFTWARE AS-IS AND WITH ALL
         FAULTS AND THE ENTIRE RISK AS TO SATISFACTORY QUALITY, PERFORMANCE, ACCURACY, AND EFFORT IS
         WITH DEVELOPER. DEQUE EXPRESSLY DISCLAIMS ANY WARRANTY OF MERCHANTABILITY, FITNESS FOR
         ANY PURPOSE, NON-INTERFERENCE, AND NON-INFRINGEMENT.
         Under no circumstances may Customer use the Product, any Documentation, or any other good, service, or
         software provided by Deque in connection with any good, service, or software that is to be used for any
         application where the failure or noncompliance of such good, service, or software is likely to result in
         personal injury (including, but not limited to, death) or property damage.
         The Product operates utilizing the Internet, which is not under the control of Deque, and which is inherently
         insecure. Deque makes no warranties, representations, or guarantees of any kind, express, implied, statutory,
         or otherwise, oral or written, with respect to the performance or security of the Internet.


https://www.deque.com/terms-of-use/axe-devtools-online/                                                                          3/8
            Case
12/15/23, 11:02 AM 1:24-cv-00217-AJT-WEF                  Document    1-4License
                                                           Deque Software    Filed  02/13/24
                                                                                 Terms              Page
                                                                                       - axe ® products      5 of 9 PageID# 51
                                                                                                        | Deque



   (https://github.com/dequelabs/legal-docs/blob/main/terms-of-use.md#4-confidentiality)      4.
   Confidentiality.
         “Confidential Information” means any information belonging to, or held by, Deque whether fixed in a tangible
         medium or otherwise, that is:
            1. Not readily ascertainable by proper means by the public; and
            2. The subject of commercially reasonable efforts by Deque under the circumstances to maintain as
               confidential; The Product is also Deque’s Confidential Information.
         Customer will do the following things with regard to the Confidential Information.
            1. Prevent the disclosure of the Confidential Information by Customer and each of Customer’s employees,
               agents, and/or professionals to any third party other than as permitted under the Terms.
            2. Use, and permit the use of, the Confidential Information only for the purpose of performing Customer’s
               obligations, or enjoying its rights, under the Terms (the “Purpose”).
            3. Disclose the Confidential Information only to such of Customer’s employees and agents (each a
               “Representative”) as have a bona fide need to possess or know the Confidential Information in the
               course of accomplishing the Purpose.
            4. Cause each Representative to whom Customer discloses the Confidential Information to be bound by an
               obligation of confidentiality that is at least as rigorous as the obligations contained in the Terms. Each
               professional, such as a lawyer or an accountant, actually retained by Customer in a professional-client
               relationship will be deemed under an adequate obligation of confidentiality for the purposes of the
               Terms so long as the law recognizes an obligation of confidence actionable by Customer under law
               without a separate contractual obligation.
            5. Return or destroy all written or other tangible copies of Confidential Information in Customer’s
               possession or direct or indirect control, including all extracts and copies thereof, within a reasonable
               time after, and in accordance with, Deque’s request.
         Nothing in this Section 5 will prevent Customer from disclosing or using the Confidential Information of
         Deque to the extent that:
            1. It is or becomes readily ascertainable by proper means by the public without any breach by Customer of
               Section 5(b);
            2. It is received from a third Party that is not under an obligation of confidentiality of which Customer knew
               or had reason to know;
            3. It is independently developed by Customer without use of Deque’s Confidential Information; or
            4. It is required by law to be disclosed, provided that Customer (to the extent not prohibited by law):
               Provides to Deque as much notice as is practicable under the circumstances of such requirement;
               Provides to Deque, at Deque’s expense, such reasonable assistance as Deque requests in seeking
               confidential treatment, protective orders, nondisclosure, and/or similar measures; and
               Discloses only such Confidential Information as Customer, upon advice of its counsel, believes is
               required to be disclosed.
         Because unauthorized use or disclosure of Confidential Information might result in immediate and
         irreparable injury to Deque, for which monetary damages might not be adequate, if Customer or any officer,
         director, employee, agent, professional, or subcontractor of Customer uses or discloses Confidential
         Information or any such person is likely to use or disclose Confidential Information in breach of Customer’s
         obligations under the Terms, Deque will be entitled to seek equitable relief, including temporary and


https://www.deque.com/terms-of-use/axe-devtools-online/                                                                          4/8
            Case
12/15/23, 11:02 AM 1:24-cv-00217-AJT-WEF                  Document    1-4License
                                                           Deque Software    Filed  02/13/24
                                                                                 Terms              Page
                                                                                       - axe ® products      6 of 9 PageID# 52
                                                                                                        | Deque
         permanent injunctive relief and specific performance. The rights in this Section 5(d) are in addition to any
         other rights of Deque under the Terms, at law, or in equity.
         The obligations under this Section 5 will continue after disclosure of each item of Confidential Information
         for the longer of:
            1. Five years after initial disclosure of that item of Confidential Information; or
            2. The time during which the Confidential Information remains a trade secret (as that term is defined in the
               Uniform Trade Secrets Act) of Deque.



   (https://github.com/dequelabs/legal-docs/blob/main/terms-of-use.md#5-limitation-of-liability)   5.
   Limitation of Liability.
         EXCEPT IN THE CASE OF BREACHES OF THE CONFIDENTIALITY PROVISIONS BY CUSTOMER OR
         MISAPPROPRIATION BY EITHER PARTY OF THE PROPRIETARY RIGHTS OF THE OTHER PARTY:
           1. THE LIABILITY OF ONE PARTY TO THE OTHER FOR ANY REASON OR REASONS AND UPON ANY CAUSE
              OF ACTION OR CAUSES OF ACTION PURSUANT TO THIS AGREEMENT SHALL BE LIMITED TO THE
              LICENSE FEES ACTUALLY PAID BY CUSTOMER TO DEQUE DURING THE 12 MONTHS PRECEDING THE
              BREACH; and
           2. NEITHER PARTY SHALL HAVE LIABILITY WITH RESPECT TO ITS OBLIGATIONS UNDER THIS
              AGREEMENT OR OTHERWISE FOR INDIRECT, INCIDENTAL, CONSEQUENTIAL, EXEMPLARY, SPECIAL,
              OR PUNITIVE DAMAGES, EVEN IF THE PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH
              DAMAGES.



   (https://github.com/dequelabs/legal-docs/blob/main/terms-of-use.md#6-fees)        6. Fees.
      1. Customer will pay the fees stated in the Specific Terms. Where Customer provides a credit card, ACH
         authorization, or similar means of payment, Customer authorizes Deque to charge fees against those
         payment methods, including, but not limited to, for renewals. All credit card payments will be subject to a 4%
         processing fee.
      2. If Customer fails to timely pay any amount due under the Terms, Deque may charge, and Customer will pay,
         late fees that are the lesser of 1% per month or the maximum rate permitted by law.
      3. Fees are exclusive of any tax(es). Customer shall be responsible for, and shall pay or reimburse Deque for,
         any and all such taxes. If a claim is made against Deque for taxes with respect to which Customer is liable
         for a payment or indemnity hereunder, Deque shall promptly notify Customer of such claim; provided
         however, that failure to give notice will not relieve Customer of its obligations hereunder, unless and except to
         the extent that (i) such failure increases the amount for which Customer would have been liable in the
         absence of such failure, or (ii) such failure results in the imposition of, or an increase in the amount of, any
         penalties, interest, or other additions to tax that is the subject of such claim. Customer may, in good faith,
         with due diligence and at its expense, contest the validity, applicability, or amount of such taxes. Unless
         otherwise permitted by law or by agreement of the parties, such contest will be coordinated by Deque, and
         Deque agrees to make good faith efforts to contest such claim in cooperation with Customer and in
         accordance with Customer’s reasonable requests and directions. If Deque receives any refund of a tax for

https://www.deque.com/terms-of-use/axe-devtools-online/                                                                          5/8
            Case
12/15/23, 11:02 AM 1:24-cv-00217-AJT-WEF                  Document    1-4License
                                                           Deque Software    Filed  02/13/24
                                                                                 Terms              Page
                                                                                       - axe ® products      7 of 9 PageID# 53
                                                                                                        | Deque
         which Customer has provided payment hereunder, Deque shall promptly, but in any event within 30 days of
         receipt of such refund, remit such refund to Customer, together with any interest refunded on such amount.



   (https://github.com/dequelabs/legal-docs/blob/main/terms-of-use.md#7-period)       7. Period.
         (a) The term of the agreement consisting of the Terms is initially the period stated in the Specific Terms or, if
         no period is stated in the Specific Terms, one year (in either case, the “Initial Period”). If Customer does not,
         on or before the date that is 60 days prior to the end of the then-current Period (as defined below) give to
         Deque notice of its intent not to renew at the end of the then-current period (Initial Period or Renewal Period),
         the term of the agreement will automatically renew for an additional one-year period (each a “Renewal
         Period” and the Initial Period, together with the Renewal Period(s), being the “Period”).
         Deque may adjust the pricing for any Renewal Period by an amount not to exceed the proportional increase in
         the Consumer Price Index for All Urban Consumers – All Items since the last time at which pricing was set,
         plus up to 2%.
         In addition to any other right of Deque, Deque may terminate the agreement represented by these Terms at
         any time without cause upon 30 days’ notice to Customer and may terminate the agreement represented by
         these Terms immediately upon notice for (a) nonpayment of any amount due or any other breach by
         Customer of the Terms.



   (https://github.com/dequelabs/legal-docs/blob/main/terms-of-use.md#8-general-provisions)       8. General
   Provisions.
         Force Majeure. If the performance of any part of the Terms (other than payment of amounts due from
         Customer) by either party is prevented, hindered, delayed or otherwise made impracticable by reason of any
         flood, unusually severe weather, riot, fire, judicial or governmental action, labor dispute, act of God, act of
         terrorism, or any other cause beyond the control of either party, that party shall be excused from performance
         to the extent that it is prevented, hindered or delayed by such causes.
         Governing Law; Venue. The Terms shall be governed in all respects by the laws of the Commonwealth of
         Virginia, United States of America (excluding the Uniform Computer Information Transactions Act) without
         regard to their conflict of law provisions. Except for an action by Deque to enforce its rights under Section 5,
         any claim, suit, or cause of action arising out of, or related to, these Terms must be brought solely in the
         courts of the Commonwealth of Virginia sitting in Fairfax County, Virginia or in the United States District
         Court for the Eastern District of Virginia.
         Assignment. Customer may not assign, without the prior written consent of Deque, any of its rights, duties, or
         obligations under the Terms to any person, whether by assignment, merger, transfer of assets, sale of stock,
         operation of law or otherwise. Deque may assign its rights and obligations under the Terms at any time and
         without Customer’s consent.
         Notice. Any notice required or permitted to be given under the Terms must be in writing and will be deemed
         effective (a) if given by personal delivery, upon such personal delivery, (b) if given by nationally-recognized
         courier or mail service (in either case that has realtime or near-realtime tracking), at the time that the notice
         is delivered (or an attempt is made to deliver the notice, regardless of whether refused) to the receiver’s

https://www.deque.com/terms-of-use/axe-devtools-online/                                                                          6/8
            Case
12/15/23, 11:02 AM 1:24-cv-00217-AJT-WEF                  Document    1-4License
                                                           Deque Software    Filed  02/13/24
                                                                                 Terms              Page
                                                                                       - axe ® products      8 of 9 PageID# 54
                                                                                                        | Deque
         premises according to the tracking records of the courier or mail service, (c) if given by fax, at the beginning
         of the next business day at the receiver’s location, provided that the sender’s fax device generates a
         confirmation that the fax arrived at the receiver’s device and that there is no indication in the course of the
         transmission that the notice did not arrive at the receiver’s fax device, or (d) if by e-mail, when sent, provided
         that sender receives no indication within four hours after sending that the e-mail message failed to reach the
         receiver. If a receiver knowingly or intentionally renders a fax device or e-mail system incapable of receiving
         notice by that means, any notice sent by fax or e-mail respectively will nevertheless be effective upon
         sending. The addresses for notices for Deque is as follows.

              Deque Systems, Inc. 381 Elden Street, Ste 2000 Herndon, VA
              20171 general.counsel@deque.com (mailto:general.counsel@deque.com)


         The addresses for notice for Customer are the most recent Customer information on file with Deque. Either
         party may change its address for notice by notice to the other party.
         Audit Rights. Upon Deque’s written request at any time during the Term, Customer shall provide to Deque a
         signed certification (i) verifying that the Product is being used in accordance with these Terms; and (ii) listing
         the number of users, and any other information reasonably requested by Deque. Deque may, at Deque’s
         expense, and not more than once annually, audit Customer’s use of the Product and compliance with these
         Terms. The audit will be conducted during business hours and will not unreasonably interfere with
         Customer’s business activities. Customer shall provide Deque or its auditor with all reasonable information
         and assistance (including copies of related software) required to enable Deque to determine whether
         Customer is in compliance with these Terms. If the audit reveals that Customer has underpaid fees to Deque,
         Customer will be invoiced for the underpaid fees based upon Deque’s price list at the time the fees would
         have otherwise been incurred, together with interest at the lesser of 1.5% per month or partial month, or the
         highest rate permitted by law, until paid. If the audit reveals that Customer has underpaid fees totaling five
         percent (5%) or more of the fees due in any year, Customer shall reimburse Deque for all reasonable
         expenses associated with the audit.
         Successors and Assigns; No Third-Party Beneficiaries. The Terms are legally binding upon and inures to the
         benefit of the parties and their permitted successors and assigns. No third party is intended to benefit from,
         nor may any third party seek to enforce, any of the terms and conditions of the Terms, including, but not
         limited to, any third party with whom Customer has an employment or separate contractual relationship.
         Relationship of the Parties. Nothing contained in the Terms shall be deemed to create an association,
         partnership, joint venture, or relationship of employment, principal and agent or master and servant between
         the parties, or to grant either party the right or authority to assume, create or incur any liability or obligation of
         any kind, express or implied, against, in the name of, or on behalf of, the other party.
         Waiver. The failure of a party to enforce any of the provisions of the Terms, or to exercise any option provided
         in the Terms, or to require performance by the other party of any of the provisions in the Terms, is not a
         present or future waiver of such provisions and does not affect the validity of the Terms or the right of the
         party to enforce every provision of the Terms thereafter. The express waiver (whether one or more times) by
         a party of any provision, condition or requirement of the Terms does not constitute a waiver of any future
         obligation of the other party to comply with such provision, condition, or requirement.
         Severability. If any provision of the Terms is invalid under any applicable statute or rule of law, it is to that
         extent to be deemed omitted, and the balance of the Terms shall remain enforceable.
         Survival. The terms and conditions that by their sense and context are intended to survive termination or
         expiration hereof shall so survive.
         Remedies Cumulative. Deque’s remedies are cumulative. No exercise by Deque of a particular remedy will be
         deemed an exclusive election of that remedy.
https://www.deque.com/terms-of-use/axe-devtools-online/                                                                           7/8
            Case
12/15/23, 11:02 AM 1:24-cv-00217-AJT-WEF                  Document    1-4License
                                                           Deque Software    Filed  02/13/24
                                                                                 Terms              Page
                                                                                       - axe ® products      9 of 9 PageID# 55
                                                                                                        | Deque
         Compliance with Laws. Each party will comply with all law that applies to it.
         U.S. Government Users. The Product and Documentation provided are “Commercial Items,” as that term is
         defined at 48 C.F.R. §2.101, consisting of “Commercial Computer Product” and “Commercial Computer
         Product Documentation,” as such terms are used in 48 C.F.R. §12.212 or 48 C.F.R. §227.7202, as applicable.
         Consistent with 48 C.F.R. §12.212 and 48 C.F.R. §§227.7202-1 through 227.7202-4, 48 C.F.R. §52.227-19 and
         other relevant sections of the Code of Federal Regulations, as applicable. Deque’s publications, commercial
         computer software, and commercial computer software documentation are distributed and licensed to
         United States Government end users only as a Commercial Item and with only those rights as granted to all
         other end users, according to the terms and conditions contained in the license agreements that accompany
         the products and software documentation, and the terms and conditions in the Terms.
         Export Compliance. All materials provided by Deque hereunder shall be delivered to Customer on a F.O.B.
         (UCC 2-319) shipping point basis or by electronic posting for download. Unless an appropriate license,
         exemption, or similar authorization has been duly obtained, Customer will not, nor will Customer authorize or
         permit Customer’s employees, agents, successors, or any other person to, export or re-export the Product,
         the Documentation, or any services provided under the Terms to any country identified as a prohibited
         destination by any applicable laws or regulations. Furthermore, Customer will undertake and perform all
         ‘denied party screening’ or similar obligations imposed by or arising under applicable laws or regulations. To
         the extent applicable, the commodities, technology, and/or software delivered under the Terms will be/were
         exported from the United States or other country of origin in accordance with the United States Export
         Administration Regulations or other export regulations applicable in the jurisdiction of origin. Any diversion
         contrary to United States or other applicable law is prohibited.
         Entire Agreement. The Terms constitutes the entire agreement between Deque and Customer with respect to
         the subject matter of the Terms and there are no representations, understandings, or agreements about the
         subject matter hereof that are not fully expressed in the Terms.




   Need Accessibility Help?
   Deque is your accessibility company of choice.
   Call 703-225-0380 (tel:1-703-225-0380) or Email Us (https://www.deque.com/company/contact/).
   Customers can contact our support helpdesk (https://www.deque.com/help-center/).




https://www.deque.com/terms-of-use/axe-devtools-online/                                                                          8/8
